               Case 3:21-cr-00155-JD Document 143 Filed 11/10/22 Page 1 of 4




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11 Attorneys for United States of America

12                                  UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                            Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                    UNITED STATES’ RESPONSE TO
                                                           DEFENDANT’S MOTION IN LIMINE
17                                                         TO EXCLUDE TESTIMONY OF
                             v.                            EVATT TAMINE
18
      CARLOS E. KEPKE,                                     Hearing.:           November 28, 2022
19                                                         Time:               9:00 a.m.
             Defendant.                                    Place:              Courtroom 11, 19th Floor
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23          In response to Defendant’s Motion in Limine to Exclude testimony from Evatt Tamine, or in the
24 alternative, a continuance of the trial date, the United States represents that Defendant’s motion is moot.

25 As evidenced by the government’s witness list filed on November 7, 2022, ECF 128, the United States

26 does not plan on calling Evatt Tamine as a witness during trial and opposes any continuance of the trial

27 date in this matter.

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      GOVERNMENT’S RESPONSE TO                        1
      DEFENDANT’S MOTION IN LIMINE TO
      EXCLUDE TESTIMONY OF
      EVATT TAMINE
      Case No.: 3:21-CR-00155-JD
               Case 3:21-cr-00155-JD Document 143 Filed 11/10/22 Page 2 of 4




 1          In further response, Defendant’s motion inaccurately represents the state of discovery in this case

 2 regarding Evatt Tamine. On February 4, 2022, the United States provided Defendant approximately

 3 475 gigabytes (about 2.5 million pages) of evidence from, inter alia, the search warrant executed by the

 4 Bermuda Police Service on September 5, 2018 at the home of Evatt Tamine. See Exhibit 2 –

 5 Government’s Transmittal Letter dated February 4, 2022. The United States was not a co-applicant for

 6 the September 5, 2018 search warrant.

 7          By order of the court in Bermuda, this evidence was reviewed by a barrister in the United

 8 Kingdom for potential attorney-client privilege, and other non-relevant evidence. See Exhibit 3 – Order

 9 the Supreme Court of Bermuda. Upon completion of this review, non-privileged and relevant evidence

10 was provided to the United States through a Mutual Legal Assistance Treaty (“MLAT”) request. The

11 United States does not possess, and has not seen, any evidence withheld by the reviewing barrister, or

12 any evidence that may have been seized by Bermudian authorities and not provided to the United States

13 through the MLAT process.

14          Additional electronic devices were seized by the Bermuda Police Service and provided by Evatt

15 Tamine. The United States has not seen and does not currently possess this evidence. This data was

16 compiled and sent to the barrister in the United Kingdom for privilege review. The existence of this

17 additional miscellaneous data, and its review, was explained to Defendant in a letter from the United

18 States on March 10, 2022, and further explained to counsel on November 3, 2022 during a telephone

19 call. See Exhibit 4. While this review process was ongoing, on August 5, 2022, Mr. Brockman passed

20 away and the charges against Mr. Brockman were dismissed. Currently, given Mr. Brockman’s passing,

21 and the dismissal of the charges against him, the United States has no plans to receive this additional

22 evidence.

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      GOVERNMENT’S RESPONSE TO                       2
      DEFENDANT’S MOTION IN LIMINE TO
      EXCLUDE TESTIMONY OF
      EVATT TAMINE
      Case No.: 3:21-CR-00155-JD
              Case 3:21-cr-00155-JD Document 143 Filed 11/10/22 Page 3 of 4




 1         Accordingly, the United States respectfully requests that Defendant’s instant motion be denied as

 2 moot.

 3                                                             Respectfully submitted,

 4 Date : November 10, 2022                                    STEPHANIE M. HINDS
                                                               United States Attorney
 5

 6                                                             s/ Corey J. Smith
                                                               COREY J. SMITH
 7                                                             Senior Litigation Counsel
                                                               MICHAEL G. PITMAN
 8                                                             Assistant United States Attorney
                                                               BORIS BOURGET
 9
                                                               Trial Attorney
10                                                             Tax Division

11                                                             Attorneys for United States of America
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     GOVERNMENT’S RESPONSE TO                      3
     DEFENDANT’S MOTION IN LIMINE TO
     EXCLUDE TESTIMONY OF
     EVATT TAMINE
     Case No.: 3:21-CR-00155-JD
               Case 3:21-cr-00155-JD Document 143 Filed 11/10/22 Page 4 of 4




 1                                       CERTIFICATE OF SERVICE

 2

 3           I the undersigned do hereby certify that on the 10th of November 2022, I electronically filed the

 4 foregoing Government’s Response to Defendant’s Motion In Limine to Exclude Testimony of Evatt

 5 Tamine with the ECF electronic filing system, which will send notice of electronic filing to counsel of

 6 record.

 7

 8                                                                /s/Corey J. Smith
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 9                                                                Department of Justice
                                                                  Tax Division
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     GOVERNMENT’S RESPONSE TO                         4
     DEFENDANT’S MOTION IN LIMINE TO
     EXCLUDE TESTIMONY OF
     EVATT TAMINE
     Case No.: 3:21-CR-00155-JD
